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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                            :
PETER NAVARRO,                              :
                                            :
              Plaintiff,                    :
                                            :       No. 1:22-cv-01519 (RDM)
v.                                          :
                                            :
NANCY PELOSI, et al.,                       :
                                            :
              Defendant.                    :


          MOTION TO DISMISS THE COMPLAINT WITHOUT PREJUDICE

       Through undersigned counsel, Plaintiff Peter Navarro respectfully requests that the Court

dismiss his Complaint in this case without prejudice pursuant to Fed. R. Civ. P. 41(A)(i). The

defendants in this matter have not yet been served with the Complaint.


Dated: June 16, 2022                        Respectfully Submitted,

                                            E&W Law, LLC

                                            _____/s/ John S. Irving___________
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                                            SECIL Law PLLC

                                            _____/s/ John P. Rowley, III_______
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 16th day of June 2022, a copy of the foregoing Motion

to Dismiss the Complaint Without Prejudice was served via the Court’s CM/ECF system on all

properly registered parties and counsel.


                                           _____/s/ John S. Irving________
                                           John S. Irving (D.C. Bar No. 460068)
